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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              :              CHAPTER 7
                                                    :
KELVIN BERNARD JOHNSON,                             :              CASE NO. 19-51667-BEM
TRACEY ANN JOHNSON,                                 :
                                                    :
         Debtors.                                   :
                                                    :

 MOTION FOR ORDER AUTHORIZING SETTLEMENT UNDER RULE 9019 OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates (collectively, the “Bankruptcy Estate”) of Kelvin Bernard Johnson and Tracey Ann

Johnson (collectively, “Debtors”), by and through the undersigned counsel, and files his Motion

for Order Authorizing Settlement under Rule 9019 of the Federal Rules of Bankruptcy Procedure

(the “Settlement Motion”). In support of the Settlement Motion, Trustee respectfully shows the

Bankruptcy Court as follows:

                                    Jurisdiction and Venue

         1.     This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408

and 1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion

is a core proceeding under 28 U.S.C. § 157(b)(2).

                                          Background

         2.     On January 31, 2019 (the “Petition Date”), Debtors filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy



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Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 19-51667-BEM (the “Bankruptcy Case” or “Case”).

         3.   By virtue of a Warranty Deed (the “Warranty Deed”) dated April 30, 2009,

Debtors were granted an ownership interest as joint tenants with the right of survivorship in a

certain real property and improvements known commonly as 4815 Village Square Northwest,

Acworth, Cobb County, Georgia 30102-3464 (the “Property”).            The Warranty Deed was

recorded in the real property records with the Clerk of the Superior Court of Cobb County,

Georgia (the “Real Estate Records”) on May 14, 2009.

         4.   On September 30, 2019, Trustee caused a notice of bankruptcy filing (the

“Bankruptcy Notice”) to be recorded in the Real Estate Records beginning at page 2899 of

Deed Book 15670.

         5.   The Bankruptcy Notice remains in the Real Estate Records and includes notice of

Debtors’ Chapter 7 petition.

         6.   On or about December 15, 2020, Debtors executed a Security Deed (the

“Freedom Security Deed”) transferring an interest in the Property to Freedom to secure the

repayment of a loan in the original principal amount of $202,043.00 (the “Post-Petition

Transfer”).

         7.   The Freedom Security Deed was recorded on the Real Estate Records beginning

at page 5013 of Deed Book 15844.

         8.   On February 4, 2022, Trustee filed a complaint (the “Complaint”) against

Freedom and initiated the adversary proceeding styled as Hays v. Freedom Mortgage

Corporation (Adv. Pro. No. 22-5020-BEM) (the “Adversary Proceeding”), in which Trustee

has asserted, among other things, that the Post-Petition Transfer is avoidable and recoverable by



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Trustee for the benefit of the Bankruptcy Estate, under 11 U.S.C. §§ 362, 549, 550, and 551 (the

“Post-Petition Avoidance Issues”).

         9.    Freedom has filed an answer to the Complaint and contests Trustee’s claims

related to the Post-Petition Avoidance Issues.

                                   The Proposed Settlement

         10.   Following negotiations, Trustee and Freedom (collectively, the “Parties”)

reached an agreement to resolve the Post-Petition Avoidance Issues raised by Trustee, subject to

Bankruptcy Court approval. A copy of the Settlement Agreement is attached as Exhibit “A” to

this Settlement Motion and is incorporated herein by reference. Significant terms of the

Settlement Agreement follow:1

                  a. Within 10 days of the Settlement Approval Order2 becoming final,
                     Freedom shall pay or caused to be paid to Trustee $100,000.00 in good
                     funds (the “Settlement Funds”) in one lump sum payment by delivering
                     an official check to Trustee in the amount of $100,000.00 made payable to
                     “S. Gregory Hays, Trustee (Johnson).”

                  b. Effective upon the Settlement Approval Order becoming a final order, the
                     Freedom Security Deed shall be deemed properly perfected, and the
                     transaction represented by the Freedom Security Deed shall be deemed
                     valid and enforceable, effective as of the date on which the Freedom
                     Security Deed was filed in the public records.

                  c. The Parties stipulate and agree that Freedom shall not have a claim as an
                     unsecured creditor in the Bankruptcy Case against the Bankruptcy Estate
                     for or on account of payment of all or any portion of the $100,000.00
                     Settlement Funds, or for any reason, and that neither Freedom, nor any of
                     its affiliates, agents, principals, or subsidiaries shall receive a distribution
                     from the Bankruptcy Estate as an unsecured creditor.



1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
2
      Capitalized terms not otherwise defined in this Settlement Motion shall have the
meanings ascribed to them in the Settlement Agreement.

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                   d. Within ten (10) business days of the later of: (a) the Settlement Approval
                      Order becoming a final order, or (b) Trustee’s receiving the Settlement
                      Funds, Trustee and Freedom shall file a stipulation dismissing with
                      prejudice the Adversary Proceeding.

                   e. The Parties grant one another broad and general releases.

                                         Relief Requested

         11.   By this Settlement Motion, Trustee requests that the Bankruptcy Court approve

the Settlement Agreement between the Parties.

                                         Basis for Relief

         12.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a




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pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).3

         13.   The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

         14.   Given the potential expense of litigating the claims raised by Trustee and the

contingent nature of the same, in the event that the claims that are proposed to be settled are

instead prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known (including the time necessary for any potential appeals), and the complexity

and uncertain resolution of factual and legal disputes, settlement on the terms described in the

Settlement Agreement is a proper exercise of the Trustee’s business judgment and in the best

interests of the Bankruptcy Estate.

         15.   Trustee estimates that the proposed Settlement Agreement will allow him to make

a meaningful distribution to holders of timely filed, non-priority, general unsecured claims.

         16.   Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.



                               [INTENTIONALLY LEFT BLANK]




3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

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         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief that the Court deems just and appropriate.

         Respectfully submitted, this 22nd day of June, 2022.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement under
Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class United States mail on the
following persons or entities at the addresses stated:

Office of the United States Trustee
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Suite 3000
Atlanta, GA 30328


         This 22nd of June, 2022.
                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709




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